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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS

DOUGLAS JOHNSON,                      )
                                      )
             Plaintiff,               )             22-cv-3718
     v.                               )
                                      )
COOK COUNTY SHERIFF THOMAS            )             Hon. Robert W. Gettleman
DART , in his official capacity,      )             Hon. Mag. Heather K. McShain
ANTWAUN BACON, a CCDOC officer, and )
COOK COUNTY, a municipal corporation, )
                                      )
             Defendants.              )

                            JOINT STATUS REPORT

      The represented parties by and through their counsels, DVORAK LAW

OFFICES, LLC, for the Plaintiff, and THE CITY OF CHICAGO for the

Defendants, hereby submit the following joint status report:

   1. Progress of discovery.

      Both parties have exchanged their initial disclosures and have previously

exchanged written discovery. However, because prior written discovery was

exchanged for the purposes of facilitating settlement discussions, the parties

may supplement answers to written discovery.

   2. Whether the parties anticipate expert discovery.

      The parties do not anticipate expert discovery at this time.

   3. Status of settlement discussions.

      Prior settlement discussions were unsuccessful, and the parties have not

revisited settlement discussions.

   4. Any other issue the parties wish to raise with the Court.




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      The parties have previously proposed a discovery schedule for all fact

discovery to be completed by September 26, 2023. Because of the nature of this

case involving multiple non-party medical treaters and in anticipation of taking

depositions of these non-party medical treaters, the parties would like to propose

a revised discovery schedule, with the fact discovery to be completed by

November 26, 2023.



Dated: July 24, 2023
                                        Respectfully Submitted,
                                        /s/ Adrian Bleifuss
                                        Counsel for the Plaintiff

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                                        /s/ Joel Zeid

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                          CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that on July 24, 2023, a copy of
the foregoing document was served upon counsel of record, via electronic mail.

                                                           /s/ Adrian Bleifuss




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